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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                     Chapter 11

                                                               Case No. 20-33948 (MI)
    FIELDWOOD ENERGY LLC, et al.,
                                                               (Jointly Administered)
                                   Debtors.1



                                       AFFIDAVIT OF SERVICE

       I, Muhammad Azeem, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the claims, noticing, and solicitation agent for the Debtors in the above-captioned chapter
11 cases.

       On February 12, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the following document to be served via first class mail to Daniel E. Sullivan
(MMLID: 12412014), 919 Short St., New Orleans, LA 70118:

      •      Disclosure Statement for Joint Chapter 11 Plan of Fieldwood Energy LLC and Its
             Affiliated Debtors [Docket No. 723]




                                   [Remainder of page intentionally left blank]




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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Dated: February 17, 2021
                                                            /s/ Muhammad Azeem
                                                            Muhammad Azeem
State of New York
County of New York

Subscribed and sworn to (or affirmed) to me on February 17, 2021, by Muhammad Azeem,
proved to me on the bases of satisfactory evidence to be the person who executed this affidavit.


/s/ HERBERT BAER
Notary Public, State of New York
No BA6205563
Qualified in Westchester County
Commission Expires May 11, 2021




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                                                                                      SRF 50976
